         Case 3:10-cr-03460-DMS                         Document 262                 Filed 07/24/12              PageID.750               Page 1 of 4


     ~A0245B      (Rev. 9100) Judgment in a Criminal Case
                  Sheet 1

                                                                      2012 JUL 24 AM 9: 35
                                              UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF CALlFO'RNINR;,
                    UNITED STATES OF AMERICA                                       AMENDED JUDGMEW:t
                                                                                            ey
                                                                                                     IN A CRIMINAL
                                                                                                            n"?I'~
                                                                                                                   CASE
                                                                                                                                                y

                                        v.                                         (For OlTense:> CommItted On or After-NOvember r'1987)

                         JUAN LANDA VERDE (2)                                      Case Number: IOCR3460-DMS

                                                                                    Antonio F Yoon CJA
                                                                                   Defendanfs Attomey
     REGISTRATIO!'l NO. 19073047
    I8l Correction of Title & Section due to Clerical Mistake
    THE DEFENDANT:
     I8lpleaded guilty to count(s) 1,2,3 and 4 of the Indictment

     D was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly. the defendant is adjudged gui Ity of such count( s). which involve the following ofl'ense( s):
                                                                                                                                            Count
     Title & Section                         Nature of Offense                                                                             Number(s)
18 USC 371                             CONSPIRACY                                                                                           I
8 USC 1324(a)(2)(B)(ii)                BRINGING IN ILLEGAL ALIEN FOR FINANCIAL GAIN AND                                                    2,3,4
 and 18 USC 2                             AIDING AND ABETTING




         The defendant is senteneed as provided in pages 2 through _ _.. .:.4_ _ o fthisjudgment. The sentence is imposed pursuant
  to the Sentencing Reform Aet of 1984.
  D The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
  I8l Count(s) remaining in Indictment                                               is   181   areD dismissed on the motion ofthe United States.
  181 Assessment: $400 ($100 as to each of Counts 1-4).

  !81 Fine waived                                   I8l Forfeiture pursuant to order filed -----~~-------
                                                                                              July 29,2011 , included herein.
       IT IS ORDERED that the defendant shall notify the United States attorney tor this district within 30 days of any change of name. residence.
 or mailing address until all fines. restitution. costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution. the
 defendant shall notiJY the court and United States attorney of any material change in the defendant's economic circumstances.

                                                                               AUGUST 12,2011




                                                                              HON. DANA M. SABRAW
                                                                               UNITED STATES DISTRICT JUDGE

                                                                                                                                                IOCR3460-DMS
    Case 3:10-cr-03460-DMS                          Document 262            Filed 07/24/12     PageID.751              Page 2 of 4


AO 245B     (Re" 9/00) JlIdgment in Criminal Case
            Sheet 2   hnprisonm~'f1t


                                                                                              Judgment   Page   _...;;2_ of     4
DEFENDANT: JUAN LANDAVERDE (2)
CASE NUMBER: IOCR3460.DMS
                                                          IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned f()r a term of
          FIFTY-SIX (56) MONTHS as to each of Counts 1-4, concurrently,



    o Sentence imposed pursuant to Title 8 USC Section 1326(b),
    o The court makes the following recommendations to the Bureau of Prisons:


    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat _______________ Oa,m.
                as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           0 __________________________________________________
           o as notified by the United States Marshal.
           o    as notified by the Probation or Pretrial Services Office,



                                                                 RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                   to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                             UNITED STATES MARSHAL


                                                                        By _________~~~~~~~~~~----------
                                                                                        DEPUTY UNITED STA TES MARSHAL




                                                                                                                        lOCR3460-DMS
        Case 3:10-cr-03460-DMS                        Document 262            Filed 07/24/12            PageID.752             Page 3 of 4


A0245D        (Rev. 3/10) Judgment in a Criminal Case for Revocations
              Sheet 3 - - Supervised Release
                                                                                                           Judgment-Page __3__ of _ _4",-_ _
DEFENDANT: JUAN LANDAVERDE (2)                                                                     o
CASE NUMBER: lOCR3460-DMS
                                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS as to each of Counts I - 4, concurrently

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than        drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant. pursuant to section 3 ofthe DNA Analysis
        Backing Elimination Act of2000, pursuant to 18 USC scctions 3563(a)(7) and 3583(d).
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
        or is a student, as directed by the probation officer. (Check, if applicable.)

D The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                          STANDARD CONDITIONS OF SUPERVISION

   I)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.
                                                                                                                                  lOCR3460-DMS
          Case 3:10-cr-03460-DMS                             Document 262   Filed 07/24/12            PageID.753                 Page 4 of 4


       AO 245B     (Rev, 9100) Judgment in a Criminal Case
                   Sheet 4    Special Conditions
                                                                                                         Judgmellt~'Pa!le   - L - of _ _4..:..-_ _
       DEFENDANT: JUAN LANDAVERDE (2)
       CASE NUMBER: lOCR3460-DMS




                                               SPECIAL CONDITIONS OF SUPERVISION
o Submit person, residence, office or vehicle to a           ~e~rch,
                                                       conducted by a United States       Prob~tion             ~~
                                                                                               Officer a reasonable tin:e and in a .
  reasonable manner, based upon reasonable SuspICIOn of contraband or eVidence of a vIOlation of a conditIOn of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
181 If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally; supervision waived upon
    deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o Participate in a program of mental health treatment as directed by the probation officer. take all medications as prescribed by a
  psychiatrist/physician, and not discontinue any medieation without permission. The Court authorizes the release of the presentence report
    and available psychologieal evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay,

o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o Provide complete disclosure of personal and business financial records to the probation officer as requested.
o Beprobation
       prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
              officer.
o Seek and maintain full time employment andlor schooling or a combination of both.
o Resolve all outstanding warrants within         days.
o   Complete            hours of community service in a program approved by the probation officer within
o    Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
o    Comply with the conditions of the Home Confinement Program for a period of
     except for activities or employment as approved by the court or probation officer.
                                                                                                                months and remain at your residence


o The
  Participate in a program of drug or alcohol abuse treatment, including urinalysis testing and counseling, as directed by the probation officer.
       defendant may be required to contribute to the costs of services rendered in an amount to be determined by the probation officer, based
     on the defendant's ability to pay.




                                                                                                                                        lOCR3460-DMS
